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                                                                        FILEg IN CLERK’S
                                                                                           OFFICE

                                                      JUN 2014                —


                 IN THE UNITED STATES DISTRICT COUREl i41
              FOR THE NORTHERN DISTRICT OF
                        ATLANTA DIVISION


CARLOS LOPEZ,                         )
                                      )
                     Plaintiff,       )
                                      )       No. 1:14-cv-00061-WSD
v.                                    )
                                      )
TITLEMAX OF GEORGIA, INC.,            )
                                      )
                     Defendant.       )
                                      )
     DEFENDANT’S MOTION TO FILE DOCUMENTS UNDER SEAL

      NOW COMES Defendant TitleMax of Georgia, Inc. (“TitleMax”) and

hereby files this motion to file under seal the enclosed documents: (1) Joint Motion

for Approval of Settlement Agreement, and (2) Agreement and General Release.

      TitleMax files this motion to file under seal the enclosed documents

pursuant to N.D. Ga. Standing Order 04-0 1 and the Protective Order entered in this

action. (Dkt. 21).

      WHEREFORE, TitleMax respectfully requests that the Court grant this

motion and file under seal the: (1) Joint Motion for Approval of Settlement

Agreement, and (2) Agreement and General Release.




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                              9th
Respectfully submitted this         day of June, 2014.

                                           MORRIS MANNING & MARTIN, LLP


                                           SCr
                                           Georgia Bar No. 004740
                                           1600 Atlanta Financial Center
                                           3343 Peachtree Road, N.E.
                                           Atlanta, Georgia 30326-1044
                                           Telephone: (404) 233-7000
                                           Fax: (404) 365-9532

                                           Attorneys for TitleMax of Georgia, inc.




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                          CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1D, the undersigned counsel certifies that the

foregoing “Defendant’s Motion to File Documents Under Seal” has been prepared

in Times New Roman 14 point, one of the four font and point selections approved

by the Court in Local Rule 5.1B.
             9th
      This         day of June, 2014.

                                        MORRIS, MA      G & MARTIN, LLP

                                        By:_______
                                         R. JajD’Cruz
                                         Georgia Bar No. 004740




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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


CARLOS LOPEZ,                        )
                                     )
                  Plaintiff,         )
                                     )       No. 1:1 4-cv-0006 1 -WSD
v.                                   )
                                     )
TITLEMAX OF GEORGIA, INC.,           )
                                     )
                  Defendant.         )
                                     )
                        CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing “Defendant’s Motion to File

Documents Under Seal” was served via hand delivery on June 9, 2014 to:

                         Amanda Farahany
                         V. Severin Roberts
                         Barrett & Farahany, LLP
                         1100 Peachtree Street, N.E.
                         Suite 400
                         Atlanta, Georgia 30309



                                     By:_____
                                      R. Jason q’çuz (I
                                      Georgia BhtNo. 004740




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